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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

Laurel Flowers,

        Plaintiff,

vs.                                                         No. 1:19-cv-00148 RB-SCY

Matheson Tri-Gas, Inc.,

        Defendant.

 DEFENDANT MATHESON TRI-GAS, INC.’S OPPOSITION TO PLAINTIFF’S MOTION
              TO COMPEL REQUEST FOR PRODUCTION 9

        Defendant Matheson Tri-Gas, Inc. hereby opposes Plaintiff’s Motion to Compel Request for

Production 9 (“Motion to Compel”) as follows:

I.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

        Plaintiff was the Site Manager for Matheson’s Albuquerque, New Mexico location and was

directly supervised by William (“Bill”) Cording. See [Ex. 1, Transcript of Deposition of L. Flowers

at 20:2-13; 45:19-46:2]. Mr. Cording is supervised by Daniel Lambert, who is the Southwest Zone

Vice President for Matheson. See [Ex. 1 at 78:12-16; 115:17-21].

        Plaintiff brings claims under the New Mexico Human Rights Act (“NMHRA”) against

Matheson for sex discrimination and retaliatory discharge. See generally [Doc. 1-4]. She claims

she was required to submit pay equity reports for Matheson under New Mexico’s Pay Equity

Initiative. See [Doc. 1-4 at ¶ 6]. Plaintiff further claims she was terminated “for two reasons: as

part of a general pattern of discrimination against women in her position, and in retaliation for her

efforts to comply with New Mexico’s Pay Equity Initiative by obtaining required pay equity

reports[.]” [Id. at ¶ 11]. Her termination report reflects her dismissal was for multiple, legitimate

business-related reasons, including violating hiring procedures, dishonesty and not following a



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directive from management with respect to pay increases, improper use of her purchasing card (“P-

Card” or “pay card”), and taking time off without requisite approval. See [Doc 68-1].

        In alleged support of her claims, Plaintiff seeks “[a]ll expense reports and American Express

statements of expenditures by Daniel Lambert from 2013 to present[]” by way of Request No. 9.

See [Doc. 68-3]. Matheson objected to Request No. 9 on multiple grounds, including that it “seeks

documents neither relevant to the subject matter of this litigation nor reasonably likely to lead to the

discovery of admissible evidence[,]” as outlined in its meet and confer correspondence to Plaintiff.

See [Doc. 68-4].

II.     ARGUMENTS AND AUTHORITIES

        Under Federal Rule of Civil Procedure 26, parties in a federal civil action “may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case.” While “relevancy in the discovery context is broader than in

the context of admissibility[,]” this “legal tenet . . . should not be misapplied so as to allow fishing

expeditions in discovery.” EmployBridge, LLC v. Riven Rock Staffing, LLC, No. CV 16-833

WJ/KK, 2016 WL 9281448 at *3 (D.N.M. Dec. 16, 2016) (citations and internal quotations

omitted). “Rather, discovery ‘is meant to allow the parties to flesh out allegations for which they

initially have at least a modicum of objective support.’” (citations omitted).

            A. Request No. 9 Seeks Information Regarding Mr. Lambert’s American Express
               Statements; However, Plaintiff Did Not Possess an American Express Card
               During the Relevant Time Period and Thus, Such Documents Will Not Yield
               Relevant Evidence.

        Plaintiff’s termination report provides she was terminated for (among other reasons)

“[i]mproper use of P-Card and purchases without prior authorization” and thus, any documents

regarding American Express statements bear no relevance to her claims for sex discrimination and

retaliatory discharge. See [Doc. 68-1 at 2]. Indeed, P-Cards (also referred to as “pay cards” or


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“purchasing cards”) are different from American Express cards. See [Ex. 1 at 111:3-9 (“Q. … he

references two credit cards. Can you explain to me what two credit cards he’s referring to? A. There

was a green American Express card for travel and entertainment and the – I don’t know color of the

PCard.”); Affidavit of Daniel Lambert at ¶ 2]. Matheson may provide pay cards and/or American

Express cards to certain employees depending on their roles and responsibilities and such cards are

subject to different policies and procedures. See [Affidavit of Daniel Lambert at ¶ 2.] Moreover,

any documents regarding American Express statements are irrelevant to Plaintiff’s matter because

she did not possess an American Express card during her employment as a Site Manager. See [Ex.

1 at 105:9-17 (“A. … I had a green American Express card, … My card was terminated, …

Q. When was that? A. Five years ago. Q. Were you a site manager at the time? A. No, I was not.”);

111:9-10 (“A. … I was not in possession of the green American Express, hadn’t been in several

years.”).] Rather, during her employment as Site Manager, Plaintiff only had access to a pay card.

See [Ex. 1 at 103:10-16 (“Q. Going back to the PCard, when did you first obtain a PCard? A. … It

was within a few years of my employment with Matheson. Q. Did you utilize it in all positions?

A. Yes.”); 104:10-16 (“Q. … Does this refresh your recollection as to when you first obtained a

PCard? A. It was prior to this policy date of 17 April, 2015. Q. So but it was prior to your obtaining

the site manager position? A. Oh, yes.”)].

          Accordingly, Request No. 9 is nothing but a fishing expedition into financial-related

information that in no way concerned Plaintiff while she was a Site Manager and that in no way

concerns her claims because she did not possess an American Express card within the relevant time

period.

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            B. Plaintiff and Mr. Lambert Are Not “Similarly Situated” Employees and Thus,
               Request No. 9 Will Not Yield Admissible “Comparative” Evidence.

        Despite that she did not possess an American Express card during her employment as Site

Manager with Matheson, Plaintiff’s Motion to Compel nonetheless asserts she is privy to

documents relating to Mr. Lambert’s American Express card to show that Matheson “treated

Plaintiff differently than a similarly situated male employee in its application of th[e] purported

[pay card] policy.” [Doc. 68 at 1]. However, as set further below, Plaintiff and Mr. Lambert are

more akin to apples and oranges if anything.

        “Employees are ‘similarly situated’ if they ‘deal with the same supervisor and are subject to

the same standards governing performance evaluation and discipline.’         Further considerations

include ‘relevant employment circumstances, such as work history and company policies’

applicable to the comparable employees.’” Sasser v. Salt Lake City Corp., 772 F. App’x 651, 663

(10th Cir. 2019) (black employee brought discrimination claims based on race and age under Title

VII and the ADEA and the court held his supervisor did not treat him worse than similarly situated

white employees) (citations omitted); see Kelley v. City of Albuquerque, 542 F.3d 802, 816 (10th

Cir. 2008) (“In interpreting [the New Mexico] Human Rights Act, [the New Mexico Supreme Court

has] previously indicated that it is appropriate to rely upon federal civil rights adjudication for

guidance.”) (citations and internal quotations omitted).

        Plaintiff and Mr. Lambert are in no way “similarly situated.” First, the Court has already

determined that only Site Managers (and not supervisors and executive employees like Daniel

Lambert) are employees may be “similarly situated” to Plaintiff Indeed, in ruling on Matheson’s

Motion for Protective Order from Plaintiff’s Notice of 30(b)(6) Deposition, the Court limited the

information Plaintiff may seek via Topic No. 1 “as it relates to all site managers in Defendant’s




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employ from August 23, 2013 through August 23, 2018[.]”1 [Doc. 65 at 5].

             Second, Plaintiff’s and Mr. Lambert’s roles were critically different based on their level of

seniority—(as admitted in the Motion to Compel) Mr. Lambert was Plaintiff’s “second-level

supervisor[.]” [Doc. 68 at 1]. Courts routinely hold employees (like Mr. Lambert (Southwest Zone

Vice President) and Plaintiff (Site Manager)) are not “similarly situated” when one is a supervisor

and the other is not. For example, in Watts v. City of Norman, 270 F.3d 1288 (10th Cir. 2001), the

plaintiff-employee sued the City of Norman (“city”) under Title VII for race discrimination and

argued the city’s proffered reason for demoting him was pretextual.2 He sought to establish pretext

through showing that the city treated him differently from a supervisor. Id. at 1293-96. Given “the

difference in their positions of employment,” the Tenth Circuit concluded that the plaintiff-

employee and the supervisor were not “similarly situated” and ultimately affirmed the district

court’s entry of summary judgment against him Id. at 1295-97; see Lofton v. Bank of Am., Nat’l

Ass’n, No. 1:06-CV-3076-ODE-RGV, 2009 WL 10668652 at *8 (N.D. Ga., Feb. 4, 2009), report

and recommendation adopted, 2009 WL 10669649 (N.D. Ga., Mar. 25, 2009) (“Even accepting as

true Lofton’s assertion that although Diaz held the job title of teller, he was acting and performing

duties as a ‘Teller Coordinator’ at the time of the October 25, 2005, incident, Lofton also maintains

that she was acting as an ‘assistant branch manager’ at that time and performing those duties, so she

remained in a position superior to Diaz. Thus, under either set of facts, Diaz was not similarly

situated to Lofton in all relevant respects.”); Sherman v. Mich. Tube Swager Fabrication, Inc., No.

2:05-CV-73361, 2006 WL 2056560 at *6 (E.D. Mich., Jul. 21, 2006) (“Fritz’s supervisory role is a

fundamental aspect of his employment and makes him a dissimilarly situated individual.”); Monroe

v. City of Lawrence, Kan., 124 F. Supp. 3d 1097, 1119-20 (D. Kan. 2015) (African-American police
1
    Topic No. 1 originally sought information for all employees (not just Site Managers). See [Doc. 65 at 1].
2
 “The NMHRA sets out the same standard for establishing wrongful discrimination as Title VII.” Benavidez v. Sandia
National Laboratories, 212 F. Supp. 3d 1039, 1065 (D.N.M. 2016).

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sergeant was not similarly situated to white nonsupervisory police officers, for purposes of

determining whether city and chief of police treated similarly situated employees differently in

African-American sergeant’s action for discriminatory discharge); see also Whitfield v. Cato Corp.,

No. CV. 05-755 MCA/WPL, 2006 WL 8444044 at *6, n. 4 (D.N.M., July 27, 2006) (“the Court

questions whether Whitfield, as store manager, and Price, as her supervisor, can even be considered

similarly situated employees.”) (citations omitted).

         Third, Plaintiff and Mr. Lambert were not subject to the same policies, including

Matheson’s Purchasing Card Policies and Procedures – which only pertains to certain personnel and

not Southwest Zone Vice Presidents like Mr. Lambert – further rendering them incomparable.3 See

[Ex. 2, MATHESON 0108-0114 (“Application for PCards will be limited to the following personal

as defined below. Site Managers[;] Plant/ASU Managers[;] Terminal/Distribution Managers[;]

Service Techs[;] Field Service Engineers[;] Field Service Managers[.]”)]; see Green v. New Mexico,

420 F.3d 1189, 1194 (10th Cir. 2005) (“Work histories, company policies applicable to the plaintiff

and the comparator, and other relevant employment circumstances should be considered when

determining whether employees are similarly situated.”) (citations omitted).                            Moreover, and

contrary to Plaintiff’s assertion, it is of no relevance that personnel like Mr. Lambert could have

applied for pay card and could have been permitted to use a pay card.4 Such hypothetical is

inconsequential because the pay card policy does not suggest that if Mr. Lambert applied for and

was permitted to use a pay card, he would be subject to its terms; rather, the pay card policy merely



3
 Plaintiff cites only one case (Gossett v. Oklahoma ex rel. Board of Regents for Langston University, 245 F.3d 117
(10th Cir. 2001) in her Motion to Compel for which she uses to support her proposition that regardless of Mr. Lambert’s
supervisory role, Request No. 9 will yield admissible comparative evidence because Matheson applied the pay-card
policy on a company-wide basis. However, as further set forth below, the pay card policy does not pertain to executive
employees like Mr. Lambert.
4
  Mr. Lambert did not apply for a pay card or use a pay card from 2013 to the present—again, precluding any argument
that he was subject to the same policies as Plaintiff (let alone that he engaged in the same misconduct as Plaintiff). See
[Affidavit of Daniel Lambert at ¶¶ 3-4].

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provides the “SVP of Logistics and Sourcing[]” could consider his application for a pay card. See

[Ex. 2, MATHESON 0108-0114]. In sum, Mr. Lambert was not “similarly situated” to Plaintiff

because he was not and was never guaranteed to be held to the same standards, i.e. the pay card

policy.

          Accordingly, given that Plaintiff and Mr. Lambert are not “similarly situated” employees,

Request No. 9 (which is simply just a guise for Plaintiff to dig into Matheson’s and Mr. Lambert’s

financial records) will not yield admissible comparative evidence and Matheson should not be

compelled to produce such discovery.

             C. Request No. 9 Will Not Yield “Pretextual Evidence” Because It Relies on
                Plaintiff’s Failed Argument that She and Mr. Lambert Are “Similarly Situated”
                Employees.

          In her final effort to persuade the Court that Matheson should be compelled to produce

documents relating to Mr. Lambert’s pay card, Plaintiff asserts that such evidence will show “that

Plaintiff’s termination or this reason was pretextual[.]” [Doc. 68 at 1]. But her argument fails

because, as set forth above, she and Mr. Lambert are not “similarly situated” employees.

          A plaintiff typically makes a showing of pretext in one of three ways: “(1) with evidence

that the defendant’s stated reason for the adverse employment action was false; (2) with evidence

that the defendant acted contrary to a written company policy prescribing the action to be taken by

the defendant under the circumstances; or (3) with evidence that the defendant acted contrary to an

unwritten policy or contrary to company practice when making the adverse employment decision

affecting the plaintiff.” English v. Colo. Dep’t of Corr., 248 F.3d 1002, 1009 (10th Cir. 2001)

(citations omitted). A plaintiff who wishes to show that the company acted contrary to an unwritten

policy or to company practice (as Plaintiff seemingly does here because she does not provide which

specific policies or practices Lambert allegedly violated with respect to a pay card) “often does so



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by providing evidence that he was treated differently from other similarly-situated employees who

violated work rules of comparable seriousness.” Id. (citations omitted).

        Plaintiff effectively takes the position that Request No. 9 will show that she was treated

differently from Mr. Lambert and thus, her termination (based in part on her improper pay card use)

was pretextual. However, and again, Plaintiff and Mr. Lambert are not “similarly situated

employees” because he was a supervisor (she was not) and because they were not subject to the

same policies and procedures. Accordingly, Plaintiff’s “pretextual” based reason for propounding

Request No. 9 fails for the reasons specifically addressed above. See In re Tribune Media Co., 902

F.3d 384, 403 (3d Cir. 2018) (to demonstrate pretextual nature of the employer’s stated reason for

discharging him, in Title VII claim based on differences in manner in which he and co-worker were

treated, the dismissed employee had to show that he and his co-worker were “similarly situated” in

all respects).

III.    CONCLUSION

        Based on the foregoing, Matheson respectfully requests that this Court deny Plaintiff’s

Motion to Compel with respect to Request No. 9.

                                                     Respectfully submitted,
                                                     GREENBERG TRAURIG, LLP

                                                     /s/ Lindsay E. Hutner
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                                                     San Francisco, CA 94111
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 6, 2020, I caused to be served via this Court’s ECF filing

system, a true and correct copy of the foregoing DEFENDANT MATHESON TRI-GAS, INC.’S

OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL REQUEST FOR PRODUCTION 9 on

the following counsel of record:

                                          Andrew Indahl
                                         Altura Law Firm
                               500 Marquette Drive NW, Suite 1200
                                    Albuquerque, NM 87102
                                    Telephone: 505.841.8400
                                 Email: andy@alturalawfirm.com


                                           By:    /s/ Lindsay E. Hutner
                                                  Lindsay E. Hutner




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             EXHIBIT 1
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·4··   ·   ·· Laurel Flowers,
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·5··   ·   · · · · · ·· Plaintiff,
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·6··   ·   · · · · vs.
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·7··   ·   ·· Matheson Tri-Gas, Inc.,
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·8··   ·   · · · · · ·· Defendant.
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13··   ·   · · · · · · VIDEOTAPED DEPOSITION OF LAUREL FLOWERS
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14··   ·   · · · · · · · · · · · September 18, 2019
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15··   ·   · · · · · ·· 7601 Jefferson, Northeast, Suite 180
 · ·   ·   · · · · · · · · · · Albuquerque, New Mexico
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19··   ·   · · · · PURSUANT TO THE FEDERAL RULES OF CIVIL PROCEDURE,
 · ·   ·   ·· this deposition was:
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21··   ·   ·· TAKEN BY:· · ··LINDSAY E. HUTNER
 · ·   ·   · · · · · · · · · ATTORNEY FOR DEFENDANT
22··   ·   ··
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23··   ·   ·· REPORTED BY:· ·CHERYL ARREGUIN, RPR
 · ·   ·   · · · · · · · · · New Mexico CCR No. 21
24··   ·   · · · · · · · · · Albuquerque Court Reporting Service, LLC
 · ·   ·   · · · · · · · · · Post Office Box 56787
25··   ·   · · · · · · · · · Albuquerque, New Mexico··87187

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                                                                                     20
·1··Farmington.

·2·· · ··Q.· ·They were site managers?

·3·· · ··A.· ·Yes.

·4·· · ··Q.· ·Were you all under the same management?

·5·· · ··A.· ·No.··I mean, that -- that's a very vague

·6··question for -- because management did change over time.

·7··However, we were all in the same position.··So when

·8··management changed for me, it changed for them, also.

·9··So but there were different managers.··Yes.

10·· · ··Q.· ·Were any of them supervised by Bill Cording?

11·· · ··A.· ·Bill Cording was a supervisor of all of us,

12··except -- with the exception of Richard Moku, who was no

13··longer a site manager at that time.

14·· · ··Q.· ·George, can you spell his last name?

15·· · ··A.· ·W-E-N-Z-E-L.

16·· · ··Q.· ·On what basis do you believe Mr. Wenzel was

17··treated better than you?

18·· · ··A.· ·He was making more money than me.··He also was

19··taking the Rail Runner to the store in Santa Fe.

20··Therefore, he was coming in late and leaving early to

21··catch the trains back to Albuquerque.

22·· · ··Q.· ·How do you know Mr. Wenzel was making more

23··money than you?

24·· · ··A.· ·Through discovery.

25·· · ··Q.· ·At the time, were you aware that he was making

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                                                                                     45
·1·· · ··A.· ·He was already in outside sales.

·2·· · ··Q.· ·So he was at Northern New Mexico?

·3·· · ··A.· ·Right.··However, all of outside sales reported

·4··to Bill Cording.

·5·· · ··Q.· ·And what kind of discussions would you have in

·6··that time period with Apodaca?··Was it verbal?··Written?

·7·· · ··A.· ·More verbal than anything, and I just had

·8··normal business conversations with him regarding

·9··customers and Matheson business.

10·· · ··Q.· ·Would he discuss Bill Cording with you during

11··these verbal conversations?

12·· · ··A.· ·Yes.

13·· · ··Q.· ·And was this during business hours?

14·· · ··A.· ·Yes.

15·· · ··Q.· ·Would you tell Bill -- Mr. Cording about

16··Mr. Apodaca's concerns?

17·· · ··A.· ·I don't believe I ever did.··No.

18·· · ··Q.· ·And why not?

19·· · ··A.· ·I was not close with Bill Cording and did not

20··have the kind of relationship where I could offer him

21··cautious criticism or critiques on his style of

22··management.

23·· · ··Q.· ·And but he was your manager, correct?

24·· · ··A.· ·Correct.

25·· · ··Q.· ·Was there any manager between you and

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                                                                                     46
·1··Mr. Cording?

·2·· · ··A.· ·No.··He was my direct supervisor.

·3·· · ··Q.· ·So you didn't feel you had a place to tell

·4··Bill Cording that Matheson employees were, you know,

·5··unhappy with him?

·6·· · ··A.· ·Correct.··The conversations I had with Bill

·7··Cording, I would e-mail or ask him to call me, and I

·8··would -- was mainly concerned with the things that were

·9··of the items that I needed for my store, as far as my

10··business needs were, and I was not acting in -- on the

11··behalf of other employees.··I did not have that

12··relationship with Bill.

13·· · ··Q.· ·But you were a supervisor of employees,

14··correct?

15·· · ··A.· ·I was not Lee Apodaca's supervisor so

16··therefore I did not intervene on his behalf.

17·· · ··Q.· ·Do you know if he spoke with Mr. Wenzel about

18··Bill Cording?

19·· · ··A.· ·If he spoke with -- I don't have any idea.

20·· · ··Q.· ·Have you asked anyone for documents to help

21··you with your lawsuit?

22·· · ··A.· ·Prior to discovery, I asked Wade if he would

23··help me get a copy of the purchasing card policy.

24··However, he was unable, and I -- I did not get any

25··documents from anyone at Matheson.

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·1·· · · · · ·THE VIDEOGRAPHER:··The time is 11:27 a.m.··We

·2·· · · · · ·are back on the record.

·3·· · ··Q.· ·(BY MS. HUTNER)··What kind of relationship did

·4··you have with Bill Cording?

·5·· · ··A.· ·Professional.

·6·· · ··Q.· ·Did you like him?

·7·· · ··A.· ·I had no opinion as to whether I liked or

·8··disliked him.

·9·· · ··Q.· ·Did you ever get into any sort of arguments

10··with him or otherwise?

11·· · ··A.· ·No, not that I recall.

12·· · ··Q.· ·Other than Bill Cording, did you have any

13··other supervisors at the time of your termination?

14·· · ··A.· ·Bill Cording's boss was Daniel Lambert, but

15··other than that, no, and I had very little interaction

16··with Daniel Lambert.

17·· · ··Q.· ·So do you have any opinion of Daniel Lambert?

18·· · ··A.· ·We were friends long ago.

19·· · ··Q.· ·Did something happen?

20·· · ··A.· ·Not that I'm aware of.

21·· · ··Q.· ·Did something change?

22·· · ··A.· ·Other than he being promoted to senior

23··management, nothing that I can think of.

24·· · ··Q.· ·Did your relationship kind of go icy or

25··otherwise?

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                                                                                    103
·1·· · · · · ·I know that there were two separate people,

·2··Jessica and this other temporary employee, that were

·3··providing the service.··Until the other girl quit

·4··showing up, and that's when Jessica came on.

·5·· · · · · ·Because I was told to get the project complete

·6··by -- I believe I was given a time frame from Greg or

·7··Daniel, and I don't recall if it was by the end of this

·8··week or by the end of the month.··But I was given a time

·9··frame to get the job completed.

10·· · ··Q.· ·Going back to the PCard, when did you first

11··obtain a PCard?

12·· · ··A.· ·I don't even recall.··It was, oh, 10 or 15 --

13··I mean, it was within a few years of my employment with

14··Matheson.

15·· · ··Q.· ·Did you utilize it in all positions?

16·· · ··A.· ·Yes.

17·· · ··Q.· ·Were you ever trained on appropriate use?

18·· · ··A.· ·Only through written policy.

19·· · ··Q.· ·Did anyone else have access to your PCard?

20·· · ··A.· ·Not that I'm aware of.

21·· · ··Q.· ·So to your knowledge, no one else used it but

22··you?

23·· · ··A.· ·I know there were a few occurrences where I

24··would have a coworker run and purchase something.··I

25··know Larry Pimentel did it specifically with goods for

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·1··resell.··However, I -- I can't think of any other

·2··circumstances where someone else used my card.

·3·· · ··Q.· ·So going back to the PCard policy, Exhibit 5.

·4·· · ··A.· ·Yes.

·5·· · ··Q.· ·So bottom of that first page, Rules Eligible

·6··for PCard include site managers, plant/ASU managers,

·7··terminal/distribution managers, service techs, field

·8··service engineers, and then going on, field service

·9··managers.

10·· · · · · ·Does this refresh your recollection as to when

11··you first obtained a PCard?

12·· · ··A.· ·It was prior to this policy date of 17 April,

13··2015.

14·· · ··Q.· ·So but it was prior to your obtaining the site

15··manager position?

16·· · ··A.· ·Oh, yes.

17·· · ··Q.· ·Per the policy, did you understand that your

18··supervisor was ultimately responsible for your PCard

19··purchases?

20·· · ··A.· ·I knew that my supervisor was in charge of

21··approving my monthly expense report documentation.

22·· · ··Q.· ·Did Greg Leighninger ever discuss with you

23··your PCard use?

24·· · ··A.· ·Yes.

25·· · ··Q.· ·In what manner?

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·1·· · ··A.· ·I know he had me make purchases for him.··I

·2··know that -- I don't recall other specifics, but Greg

·3··was in charge of signing off on my expense reports for,

·4··you know, a long period of time there.··So he was aware

·5··of my purchases.

·6·· · ··Q.· ·Prior to becoming a site manager, were you

·7··ever issued any verbal or written discipline?··About

·8··anything.

·9·· · ··A.· ·I -- yes.··There was another instance.··I had

10··a green American Express card, and I was written up for

11··using that.··My card was terminated, and I repaid the

12··company for the three charges that were not approved

13··purchases.

14·· · ··Q.· ·When was that?

15·· · ··A.· ·Five years ago.

16·· · ··Q.· ·Were you a site manager at the time?

17·· · ··A.· ·No, I was not.

18·· · ··Q.· ·What were the charges for?

19·· · ··A.· ·I know that there was floral charges, that I

20··had made multiple purchases at one time for floral

21··arrangements, and I do not recall what else.

22·· · ··Q.· ·Were these personal expenses?

23·· · ··A.· ·The floral was, yes.··And I repaid the

24··company, and my card was -- but not -- I've never had

25··fraudulent or accused fraudulent or personal charges on

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·1··appears you do not clearly understand the policy around

·2··the usage of these two credit cards."

·3·· · · · · ·He reference that -- he references two credit

·4··cards.

·5·· · · · · ·Can you explain to me what two credit cards

·6··he's referring to?

·7·· · ··A.· ·There was a green American Express card for

·8··travel and entertainment and the -- I don't know color

·9··of the PCard.··I was not in possession of the green

10··American Express, hadn't been in several years.··I only

11··had one card.

12·· · ··Q.· ·So this item we're only referring to the

13··PCard.

14·· · ··A.· ·Correct.

15·· · ··Q.· ·He goes to explain his issues.··The first was,

16··1, "I was told by Daniel Lambert that all meals are T&E

17··and no meals were to be purchased on PCARD (no

18··exceptions MTG employees are required to follow the

19··policy).··I will re-address based on your email from

20··Cindy and supply the team with his response."

21·· · · · · ·Did you disagree with this?

22·· · ··A.· ·The policy stated that you could not do T&E on

23··your PCard.··The meals that I purchased were not T&E.

24·· · ··Q.· ·To your understanding.

25·· · ··A.· ·Per historical usage and have -- not having

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·1··signage.··Miscellaneous.

·2·· · ··Q.· ·Sorry.··I need a fresh pen.

·3·· · · · · ·We can stay on the record.··Sorry.

·4·· · · · · ·And point 4 of this e-mail says "In November

·5··you tried to expense a donation to the Boy Scouts of

·6··America and expenses for Sam's or Costco membership

·7··which the company does not reimburse."··(As read.)

·8·· · · · · ·Do -- what's he referring to?

·9·· · ··A.· ·On my personal expense report on my

10··out-of-pocket expenses, I had done a donation to the Boy

11··Scouts of America for a couple hundred dollars for a

12··tournament that we were involved in as a company.··And

13··also my membership for one of the two of those, I put

14··that on the expense report.··It was rejected.··I removed

15··those expenses and submitted it as is, without those

16··expenses on there.

17·· · ··Q.· ·Who is ZVP, where it says "all donations

18··require ZVP approval"?

19·· · ··A.· ·Zone vice-president.··That would be Daniel

20··Lambert.··And as I did not have his approval prior to

21··making the donation, I did not submit it.

22·· · ··Q.· ·Bill goes on to indicate that he was the one

23··responsible for financials of the region and that's why

24··he's stressing the importance of this, correct?

25·· · ··A.· ·Right.

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·1··regarding obtaining signature of the witness, and
 · ·
·2··corrections, if any, were appended to the original and
 · ·
·3··each copy of the deposition.
 · ·
·4·· · ··I FURTHER CERTIFY that the recoverable cost of the
 · ·
·5··original and one copy of the deposition, including
 · ·
·6··exhibits, to LINDSAY E. HUTNER is $· · · · ··.
 · ·
·7·· · ··I FURTHER CERTIFY that I did administer the oath to
 · ·
·8··the witness herein prior to the taking of this
 · ·
·9··deposition; that I did thereafter report in stenographic
 · ·
10··shorthand the questions and answers set forth herein,
 · ·
11··and the foregoing is a true and correct transcript of
 · ·
12··the proceeding had upon the taking of this deposition to
 · ·
13··the best of my ability.
 · ·
14·· · ··I FURTHER CERTIFY that I am neither employed by nor
 · ·
15··related to nor contracted with (unless excepted by the
 · ·
16··rules) any of the parties or attorneys in this case, and
 · ·
17··that I have no interest whatsoever in the final
 · ·
18··disposition of this case in any court.
 · ·
19··
 · ·
20··
 · ·
21·· · · · · · · · · · · · ··CHERYL ARREGUIN, RPR
 · · · · · · · · · · · · · ··New Mexico CCR No. 21
22·· · · · · · · · · · · · ··License Expires:··12/31/2019
 · ·
23··
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24··
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25··

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   The Corporate Purchasing Card (PCard) Program is intended to be an alternative method of
   payment for the purchase of miscellaneous expenses, materials and services. Type of
   commodities and services targeted are maintenance and repair items, exhibits (registrations,
   supplies, etc.), brochures, catalogs and price lists, promotional supplies, and production supplies.
   The program is intended to improve the expediency and efficiency of these purchases with
   minimal administrative work.

    USAGE. EXCLUSIONS. ADMINISTRATION. ELIGIBILITY AND SPENDING LIMITES

    EXCLUSIONS
   The following materials and services shall be excluded from the Program:

        ►   Travel and entertainment expenses, including hotel and meals (expense report}
        ►   Gasoline or monthly cell phone charges (approved cell phone reimbursement must be
            reimbursed on expense report).
        ►   Goods and services that become part of inventory for resale ("'1).
        ►   Personal Expenses ("'2).
        ►   All computer components and software.
        ►   Office Expense (Staples corporate account/ direct bill)
        ►   Subscriptions (expense report)
        ►   Dues & Memberships (expense report)
        ►   Any item to be purchased under a CR (Excluded for Cryogenic Services and Application
            Engineers).

    ("'1) Retail locations are permitted to charge to the PCard small-scale non-stock items for
    immediate resale at the specific request of a customer not to exceed $300 per transaction.

   ("'2) Though the PCard policy restricts any personal expense, if there is a charge that is
   not validated and is an item used for personal use or consumption, it will be the
   responsibility of the cardholder and the cardholder's supervisor to ensure
   reimbursement from the Cardhoider to Matheson via a means determined by the
   PCard Administrator.

   PCARD ADMINISTRATOR
   The Peard Administrator is Cindy Elledge, Irving Finance 972-560-5616.

   ROLES ELIGIBLE FOR PCARDS
   Application for ?Cards will be limited to the following personal as defined below.
   Deviation from the below list may only be authorized by SVP of Logistics and Sourcing.

        ►   Site Managers
        ►   Plant/ASU Managers
        ►   Terminal/Distribution Managers
        ►   Service Techs
        ►   Field Service Engineers




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           ►   Field Service Managers

    NUMBER OF CARDS PER CAROHOLDER
    •       Each Cardholder may have only one card. If cardholder is required to buy for multiple
            locations, spend for multiple locations must be approved by their supervisor and will be
            assigned in Concur as allowable.

    SPENDING LIMITS
    •       Cards will be assigned spending limits on both a per-transaction and aggregate monthly
            basis. Default credit limits are $3,000 per month with $1,000 single transaction. Limits
            may be changed based on Management request and approval.

    •       Cardholders may not divide single purchases into two or more transactions in order to
            circumvent spending limits.

    •      Any increases in spending limits must be requested to the Peard Administrator in
           writing and approved by the SVP of Logistics and Sourcing.

    •       In the event of special circumstances (e.g. recovery from natural disasters}, spending limits
            may be raised temporarily by request of the approving supervisor with approval of the EVP of
            Supply Chain Management. Spending limits will revert to normal levels after a pre-determined
            duration unless an extension is granted by SVP, Logistics and Sourcing.

   •       Spending habits will be reviewed and used to identify potential purchase agreements.
           This may include negotiation of discounts on future PCard purchases.

   RESPONSIBILITIES

   GENERAL
       •   Cardholder acknowledges responsibilities under the Matheson PCard Program and
           agrees to comply with the requirements set forth by signing the MATHESON Purchasing
           Card Application/ Acknowledgement.

   •       The PCard is a charge card and must be used in such a manner that ensures the
           security and safekeeping of the Card. The PCard is nontransferable. Do not give your
           card or the card number to any other individual to place orders with the supplier. This
           will result in termination of card privileges. The Cardhoider must be the person placing the
           order with the supplier.

   •       Advise suppliers of the following at the time of t ransaction:
           (a) Apply sales tax to all transactions unless specified as exempt.
           {b) Invoices are NOT required. Do NOT send a duplicate invoice.
           (c) The shipping address and person to whom the material is to be delivered.




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    •   Obtain a receipt/packing list at the point of receiving goods and verify that
        the materials and/or services received are what were ordered.

    •    Backorders should be billed at the time of shipping.

    •   Resolve all discrepancies w ith the supplier. Handle returns and credits of goods as
        separate transactions. They are not to be handled as exchanges or combined with other
        purchases. DO NOT ACCEPT CASH REFUNDS.

    •    Review transactions for accuracy and send exceptions to the PCard Administrator.

    •   Notify a Bank of America Customer Service representative of any billing discrepancies
        posted on the Monthly Reconciliation Statement that cannot be resolved with the
        supplier. Bank of America will place these charges in dispute until they are resolved.

    •   The PCard is the property of Matheson Tri-Gas and should only be used for business
        purposes. A card used out of compl iance with the guidelines established for this
        program can result in severe consequences, up to and including termination of
        employment.

    ORDERING MATERIAlS AND SERVICES
    •   Cardholder verifies that the material or service to be purchased is not excluded from the
        Program. If t he item is excluded, or if the cost of the item exceeds the card's spending limit,
        Cardholder should use the traditional requisition order process.

    •   Cardholder contacts the supplier and indicates that he/she wants to place an order and
        pay for it using a PCard. After the Card holder provides an accurate description of the
        material or services to be purchased, he/she is to advise the supplier of the following
        conditions:

        ►   Apply sales tax to all transactions unless specified as tax exempt and document on all
            receipts/packing lists, if applicable. Items that are considered tax-exempt are
            those used i n the production process. All other transactions are to be assumed
            taxable.

        ►   The shipping address, including the name, and phone number of the person to whom the
            material is to be delivered.

    RECEIVING MATERIALS OR SERVICES
    •   The Receiving Department will deliver the containers to the addressee unopened.

    •   Card holder verifies that the material or service received is what was ordered and verifies the
        accuracy of all receipts/packing lists.




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    •       RETURNS/ CREDITS Card holder is responsible for resolving all discrepancies with suppliers.
            Returns of material to suppliers must be handled as credits and treated as separate transactions.
            Returns are not to be handled as exchanges or combined with other purchases. A separate
            transaction must be placed to re-order t he correct material.

    •       Cash refunds are not allowed under any circumstances.

    CARDHOLDERS
        •    All Cardholders' profiles will be maintained by the Peard Administrator for fu nctional
             requirements with the Bank of America and Concur.

        •    Concur will notify the card holder electronically of charge activity.

        •    Upon notification of charge activity, cardholder reviews charge(s) and follows Concur
             guidelines for completing the expense report and uploading of receipts. If a discrepancy
             is noted, Card holder should immediately notify the supplier about the disputed amount or
             transaction. All disputed transactions should be resolved through the supplier.

        •    A "Missing Receipt" form must be completed in lieu of a missing receipt.

        •    Failure to comply with timely submission of PCard expense will result in suspension of
             cardholder privileges.

    APPROVING SUPERVISOR'S RESPONSIBILITIES
    Cardholders supervisor is responsible for reviewing and validating cardholder's charges as
    follows:

    •       Statements have auto route functionality to the cardholders supervisor once employee submits
            statement for review.

    •       Upon notification from Concur that statement is ready for review, the
            cardholder's supervisor is responsible to validate and approve that
            transactions are in compliance with the PCard Policy. Gl coding is to be
            verified for correctness (Note: Chart of Accounts is included in the Support
            Form workbook).

    •       It is the responsibility of the supervisor to approve requests for new cards,
            related spending limits and location and/or locations approved for purchases
            under the Peard via a signed "Purchasing Card Application/Acknowledgement
            Form".

    •       It ls the responsibility of the supervisor to notify the PCard Administrator
            immediately upon termination of employment or transfer of a
            Cardholder.




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    PCard ADMINISTRATOR
    •   Develop and provide training and maintain communication with
        cardholders and approving supervisors.

    •   Responsible for coordinating or arranging training for all new
        cardholders on the use of Concur automated PCard expense reporting
        system.

    •   Maintain cardholder records, Concur Profile and BOA card holder
        profiles Including: Cardholder names, cost centers, transaction
        spending limits, monthly spending limits, approving supervisors and
        card expiration date. Administrator is to retain monthly history of
        this information.

    •   Coordinate Cardholder enrollment, termination and spending limit changes.

    FINANCE -ACCOUNTS PAYABLE DEPARTMENT
    •   Receive and process monthly Peard billing statement for payment and Input to Matheson
        Accounts Payable system.

    •   Finance performs post-audits of Peard transaction activity to ensure properfunctioning of
        the program.

    •   The Peard billing system is a single bill/central pay arrangement. Payment is
        centrally executed by Matheson Accounts Payable. The grand total of all charges
        to Matheson with supporting detail by Cardholder account Is paid to Bank of America
        directly by Accounts Payable. Transactions detail by Zone/ Area is available for
        review by zone administration.

    •   Accounts Payable Manager will assign spending category codes to purchases, as determined
        by the MMC code attached to each vendor.

    •   PCard Administrator will have access to review card holder statements via the BOA web
        portal.

    SUPPLIERS
        ►   Mark boxes or other shipping containers with the proper shipping address.
        ►   Show detailed information on quantity, description, & price on receipts/packing lists.
        ►   Apply sales tax to the transaction and record on all receipts/packing lists, as
            instructed by the Cardholder.
        ►   Do NOT issue invoices. Bank of America will bill Matheson Tri-Gas direct.
        ►   Segregate individual credit/return transaction. Do NOT under any circumstances
            issues cash refunds.




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        ►   Maintain the confidentiality of the companies PCard account numbers and transaction
            history to prevent this information from unauthorized use.
        ►   Backorders should be billed at the time of shipping.



    BANK OF AMERICA
    •   Process requests for new PCard accounts, and changes to or cancellations of existing
        accounts in a timely manner.

   •    Send monthly PCard account statements directly to individual Cardholders as determined by
        Matheson

   •    Resolve billing errors with Cardholders and/or Suppliers in a timely manner.

   •    Provide a single monthly billing statement to Matheson Accounts Payable, including
        all information necessary to apply transaction costs to the G/L code assigned to
        each PCard account.

   •    Provide ongoing customer service through Matheson Tri-Gas representatives;
        PCard Account person from Bank of America.

   PROCEDURES

   ISSUING A CARDHOLDER ACCOUNT
   •    Requests for new PCard accounts must be authorized in writing by the prospective
        Cardholder's approving supervisor. Requests for new cards must be approved by the
        SVP, Logistics and Sourcing on the PCard "Application and Acknowledgement' Form
        {ATTACHMENT A).

   •    The PCard Administrator, upon receipt of the approved 'Application and
        Acknowledgement' form will process the request with BOA and will provide the card once
        received from the bank (with email instruction) to the cardholder. Upon issuance, Concur
        will be set-up with the new cardholders profile and training information on how to use
        the automated system will follow.

   •    The Card holder reviews the Cardholder's Roles and Responsibilities with his/her
        supervisor, and the approving supervisor instructs the Card holder of any additional
        restrictions within his/her department not discussed or identified in this policy

   •    The Cardholder, approving supervisor and the SVP of Logistics and Sourcing
        signs the PCard Application/Acknowledgment, and provides the original signed form to
        the PCard Administrator.




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    CANCELING A CARDHOLDER ACCOUNT
    •   In the event that the Cardholder is transferred to another location or his/her employment is
        terminated, the Cardholder's approving supervisor or a designated individual must init iate
        cancellation of the Card holder account. PCard accounts cannot be reassigned from one
        employee to another.

    •   Cardholder's approving supervisor or the designated i ndividual should contact the PCard
        Administrator immediately, then collect the card, cut it in half, then send to the PCard
        Administrator. If the plastic card cannot be collected, Cardholder's approving supervisor
        should advise the PCard Administrator accordingly.

    •   In the event that the Cardholder's employment is terminated, the Cardholders
        approving supervisor or a designated individual should expedite cancellation of the
        Cardholder account by contacting the PCard Administrator.

    •   The PCard Administrator coordinates cancellation of the Cardholder account with
        Bank of America.

    •   The PCard Administrator will insure t he Corporate PCard is collected when the
        Cardholder is either terminated or resigns.

    LOST AND/OR STOLEN CARD
    Cardholder is to report the loss/theft of any card (or account number) immediately
    to Bank of America Customer Service at 1-888-449-2273. After Bank of America
    has been contacted, t he Cardholder must advise the approving supervisor and
    the PCard Administrator. Upon notification to Bank of America of a lost or stolen
    card, further use of the card will be blocked. Prompt action in these
    circumstances can reduce t he Company's liability for fraudulent charges.




                                                                                                       MATHESON 0114
